                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-j
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 02, 2021                                               Form ID: prose1                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2021 at the address(es) listed
below:
Name                               Email Address
United States Trustee
                                   ustpregion20.aq.ecf@usdoj.gov

Yvette J. Gonzales
                                   yjgllc@yahoo.com yg@trustesolutions.net


TOTAL: 2




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               United States Bankruptcy Court − District of District of New Mexico
    AFTER YOU FILE FOR BANKRUPTCY − WHAT HAPPENS NEXT & WHAT YOU NEED TO DO

               This document contains general information regarding chapter 7 bankruptcy cases


CHAPTER 7:
      • The Clerk's Office will mail you a document identified as Official Form 309A − Notice of Chapter 7
        Bankruptcy Case −− No Proof of Claim Deadline. If you do not receive this document in the mail within 10
        days of filing your bankruptcy case, contact the Clerk's Office. This document contains important information,
        including your case number, important deadlines, the trustee assigned to your case, along with the date,
        time, and location of your Meeting of Creditors.

                               **Your Meeting of Creditors will be held Telephonically **
      • If your bankruptcy case is deficient, the Clerk's Office will mail you a document identified as Clerk's Notice
        of Deficient Filing. This document will identify required documents that were not filed with your Voluntary
        Petition. It informs you that if certain documents are not filed within a certain time frame, your case will be
        dismissed.
MAIL COPIES OF THE FOLLOWING ITEMS TO THE TRUSTEE'S ADDRESS AT LEAST 7 DAYS
BEFORE THE MEETING OF CREDITORS:

      • A photo ID issued by a governmental unit (i.e. driver's license).
      • Social Security card (or evidence of your number or a written statement that there is not one).
      • Payment Advices received during the 60−day period before filing bankruptcy. Payment advices can include
        paycheck stubs, wage statements, automatic deposit statements, social security, retirement, other income.
      • Your most recent federal income tax return or transcript of most recent federal tax return or written statement
        that the document does not exist.
      • Statements for all bank or investment accounts (checking, savings, brokerage, etc.) for the time period that
        includes the month for the date the petition was filed.

Note: for further information regarding items listed above go to the Court's website at:
www.nmb.uscourts.gov/self−rep/after−you−file; See item #2 Meeting of Creditors − Important Requirements for
Debtors and Required Identification.

*Refer to item #5 on the Meeting of Creditors Notice for the Trustee's contact information. Any questions regarding
submission of the documents are to be directed to the trustee.

ADDITIONAL INFORMATION:

      • If you move or change your phone number, you must file a Change of Address form with the Clerk's Office.
        This form is on our website www.nmb.uscourts.gov or can be obtained by contacting the Clerk's Office.
      • Any documents you file with the Clerk's Office must contain your name, case number and your
        signature.

DISCHARGE INFORMATION:
      • You must complete a 2nd Debtor Education Course (Personal Financial Management Course) and file
        Official Form 423 − Debtor's Certification of Completion of Instructional Course Concerning Financial
        Management with the Clerk's Office within 60 days after the Meeting of Creditors. A complete list of
        approved agencies that provide this course is available at:
        www.justice.gov/ust/eo/bapcpa/ccde/DE_Files/DE_Approved_Agencies_HTML/de_new_mexico/de_new_mex
        ico.htm
      • The deadline for creditors to file a complaint to object to discharge or to challenge dischargeability of certain
        debts is a deadline that appears in the document identified above as Official Form 309A − Notice of Chapter
        7 Bankruptcy Case −− No Proof of Claim Deadline.
      • The Clerk's Office will review your case for discharge eligibility within 2 − 3 weeks after this deadline.
      • Keep the Order of Discharge with your important papers as proof your case was completed and discharge
        was granted.

FILING FEE PAYMENT INFORMATION:




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If you filed an Application To Pay Filing Fee In Installments:

      • You will receive an Order in the mail signed by the judge that either grants or denies the application.
      • Follow the instructions in the Order or your case may be dismissed.

If you filed an Application To Waive Filing Fee:

      • You will receive an Order in the mail signed by the judge that either grants or denies the application.
      • Follow the instructions in the Order or your case may be dismissed.

You may submit payment by:

      • U.S. Mail or by another carrier (UPS or FedEx): Send check or money order payable to: U.S. Bankruptcy
        Court, 333 Lomas Blvd NW, Suite 360, Albuquerque, NM 87102.
      • In Person: Bring check, money order, or debit card to: U.S. Bankruptcy Court, 333 Lomas Blvd NW, Suite
        360, Albuquerque, NM 87102.

                                         **We do not accept credit cards**

                     CONTACT INFORMATION FOR THE U.S. BANKRUPTCY COURT
                          CLERK'S OFFICE, DISTRICT OF NEW MEXICO:

      • By phone: 505−415−7999 or toll free 866−291−6805. If your call goes to voice mail, please leave your
        name, case number, phone number, and a detailed message, someone will get back to you.
      • Web Site: www.nmb.uscourts.gov and select the For Self−Represented tab.
    A photo ID is required to enter the building. You must pass through security. Cell phones must be turned off.

Dated: 12/2/21




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